
382 U.S. 204 (1965)
SOLOMON
v.
SOUTH CAROLINA.
No. 588.
Supreme Court of United States.
Decided December 6, 1965.
APPEAL FROM THE SUPREME COURT OF SOUTH CAROLINA.
Ellis Lyons for appellant.
Daniel R. McLeod, Attorney General of South Carolina, and E. N. Brandon, Assistant Attorney General, for appellee.
PER CURIAM.
The motion to dismiss is granted and the appeal is dismissed for want of a substantial federal question.
MR. JUSTICE DOUGLAS is of the opinion that the judgment should be reversed on the authority of Sherbert v. Verner, 374 U. S. 398. And see McGowan v. Maryland, 366 U. S. 420, 561, 577 (dissenting opinion).
MR. JUSTICE BRENNAN and MR. JUSTICE STEWART are of the opinion that probable jurisdiction should be noted.
